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                        Exhibit A
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                                                                 FTX Trading Ltd., et al.
                                                        Exhibit A ‐ Voting Tabulation Summary

                                                       Number
                                                                     Number Rejecting         Amount Accepting             Amount Rejecting
Class              Class Description                  Accepting                                                                                     Class Voting Result
                                                          %                   %                        %                           %

                                                          2                    0                $250,000,000.00                   $0.00
 3A               Secured Loan Claims                                                                                                                      Accept
                                                        100%                  0%                     100%                          0%

                                                        5802                 339               $6,831,512,856.76            $199,706,523.40
 5A       Dotcom Customer Entitlement Claims                                                                                                               Accept
                                                       94.48%               5.52%                   97.16%                       2.84%

                                                         188                  23                $60,994,302.11               $1,566,878.94
 5B         U.S. Customer Entitlement Claims                                                                                                               Accept
                                                       89.10%              10.90%                   97.50%                       2.50%

                                                        1587                  88                $454,795,582.50              $1,449,951.00
 6A            General Unsecured Claims                                                                                                                    Accept
                                                       94.75%               5.25%                   99.68%                       0.32%

                                                          15                   1                $524,415,140.36              $1,449,864.00
 6B             Digital Asset Loan Claims                                                                                                                  Accept
                                                       93.75%               6.25%                   99.72%                       0.28%

                                                        28544                1227               $223,591,126.73              $9,381,968.11
 7A           Dotcom Convenience Claims                                                                                                                    Accept
                                                       95.88%               4.12%                   95.97%                       4.03%

                                                        3120                 164                $15,175,395.13                $732,307.91
 7B             U.S. Convenience Claims                                                                                                                    Accept
                                                       95.01%               4.99%                   95.40%                       4.60%

                                                          10                   0                  $230,542.09                     $0.00
 7C           General Convenience Claims                                                                                                                   Accept
                                                        100%                  0%                     100%                          0%

                                                          1                    0                $256,291,221.47                   $0.00
 8B                Priority DM Claim                                                                                                                       Accept
                                                        100%                  0%                     100%                          0%


                                                  No creditors in this Class were entitled to vote on the Plan. As a result, per section 4.7 of the Plan of Reorganization,
 8C        PropCo General Unsecured Claims
                                                                         this Class shall be deemed eliminated from the Plan for voting purposes.


                                                        No Ballots were returned by a Holder entitled to vote in this Class. Pursuant to section 4.8 of the Plan of
10A          Senior Subordinated IRS Claims
                                                                              Reorganization, this class is presumed to accept the Plan.


                                                          1                    0               $8,700,000,000.00                  $0.00
10B     Senior Subordinated Governmental Claims                                                                                                            Accept
                                                        100%                  0%                     100%                          0%


                                                        No Ballots were returned by a Holder entitled to vote in this Class. Pursuant to section 4.8 of the Plan of
10C          Junior Subordinated IRS Claims
                                                                              Reorganization, this class is presumed to accept the Plan.


                                                          28                   5               $1,133,613,385.52             $5,090,687.79
 12            Preferred Equity Interests                                                                                                                  Accept
                                                       84.85%              15.15%                   99.55%                       0.45%




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